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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ANTHONY GILLIHAN,                              )
                                               )
                      Plaintiff,               )
                                               )      CIVIL ACTION
vs.                                            )
                                               )      FILE No. 3:19-CV-01876-L
SUB EMPIRE INCORPORATED and                    )
MDF INVESTMENTS LLC,                           )
                                               )
                      Defendants.              )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, ANTHONY GILLIHAN (“Plaintiff”) and Defendants, SUB EMPIRE

INCORPORATED and MDF INVESTMENTS LLC, (“Defendants”) by and through

undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby jointly stipulate to the voluntary dismissal of Defendants, SUB EMPIRE

INCORPORATED and MDF INVESTMENTS LLC, with prejudice in the above-styled action.

Each party to bear their own fees and costs.

           Respectfully submitted this 31st day of October, 2019.



                                               Law Offices of
                                               THE SCHAPIRO LAW GROUP, P.L.

                                               /s/ Douglas S. Schapiro
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                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 31st day of October, 2019, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro, Esq.
                                          Attorney-in-Charge for Plaintiff
                                          Northern District of Texas ID No. 54538FL

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